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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


MICHAEL R. NEWMAN,
 1935B Lamont Street NW
 Washington, DC 20010-2624
 (808) 796-4708

                 Plaintiff,

       v.
                                              Civil Action No.
HOWARD UNIVERSITY SCHOOL
OF LAW,
 2900 Van Ness Street NW
 Washington, DC 20008-1154
 (202) 806-8000

HOWARD UNIVERSITY
 2400 Sixth Street NW
 Washington, DC 20059-0001
 (202) 806-6100

DANIELLE HOLLEY, DEAN
 Howard University School of Law
 2900 Van Ness Street NW
 Washington, DC 20008-1154
 (202) 806-8000

WAYNE A.I. FREDERICK, PRESIDENT
 2400 Sixth Street NW
 Washington, DC 20059-0001
 (202) 806-2500

CYNTHIA EVERS
 Vice President for Student Affairs
 2400 Sixth Street NW
 Washington, DC 20059-0001
 (202) 806-6100

DEBRA BRIGHT
 Associate VP of Student Affairs
 2400 Sixth Street NW
 Washington, DC 20059-0001
 (202) 806-6100
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 LAWAN LANIER-SMITH
  Office of Student Conduct
  2400 Sixth Street NW
  Washington, DC 20059-0001
  (202) 806-6100

 THIRD PARTIES
  Identities to be Sought through Discovery

                            Defendants.



                                    NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1441(a) and 1446, and Fed. R. Civ. P. 81(c), Defendants

Howard University School of Law, Howard University, Danielle Holley, Wayne A.I. Frederick,

Cynthia Evers, Debra Bright, and Lawan Lanier-Smith hereby remove Michael R. Newman v.

Howard University School of Law, Case No. 2023 CAB 000246, which was brought in the

Superior Court for the District of Columbia. The Complaint raises federal law claims, which are

appropriate for resolution by this Court.

       A party may remove a civil action brought in a state court if the district courts of the

United States have original jurisdiction. See 28 U.S.C. § 1441(a). Here, Plaintiff’s Complaint,

filed January 16, 2023, raises several claims under federal law. Specifically, Plaintiff brings

claims under Title VI of the Civil Rights Act of 1964; 42 U.S.C. § 1981; and 42 U.S.C. §

1985(3). Because Plaintiff’s claims arise under federal law, this Court has original jurisdiction.

See 28 U.S.C. § 1331 (“The district courts shall have original jurisdiction of all civil actions

arising under the Constitution, laws, or treaties of the United States.”). Therefore, under

28 U.S.C. § 1441(a), the Defendants may remove this action to this Court.

       The requirements of 28 U.S.C. § 1446 are satisfied because this Notice is filed within 30

days after service of process; Plaintiff attempted to serve Defendants on January 31, 2023—

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although Defendants do not believe that service was proper, which they will address if needed in

a responsive pleading. Copies of all pleadings and orders as well as papers filed in the Superior

Court for the District of Columbia are attached as Exhibit 1.

       After this Notice is filed in the United States District Court for the District of Columbia,

Defendants will file notice of this removal with the Clerk of the Superior Court for the District of

Columbia and serve a copy on Plaintiff.

       Venue is proper as the United States District Court for the District of Columbia includes

the District of Columbia, where the events giving rise to this action allegedly occurred and where

the Superior Court for the District of Columbia is located.

       Accordingly, Defendants remove this action to this Court from the Superior Court for the

District of Columbia, Civil Division.

 Dated: February 16, 2023               Respectfully submitted,

                                        /s/ Amanda Shafer Berman
                                        Laurel Pyke Malson (DC Bar #317776)
                                        Amanda Shafer Berman (DC Bar #497860)
                                        Kyle Lyons-Burke (DC Bar #1655452)
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                                        1001 Pennsylvania Avenue NW
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                                        Attorneys for Defendants




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